Matter of Getreu (2014 NY Slip Op 05819)
Matter of Getreu
2014 NY Slip Op 05819
Decided on August 14, 2014
Appellate Division, First Department
Per Curiam
Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.
This opinion is uncorrected and subject to revision before publication in the Official Reports.
Decided on August 14, 2014SUPREME COURT, APPELLATE DIVISIONFirst Judicial DepartmentPeter Tom,	Justice Presiding,
David Friedman
Richard T. Andrias
Helen E. Freedman
Darcel D. Clark,Justices.


M-2654 

[*1]In the Matter of Joel L. Getreu (admitted as Joel Lawrence Getreu), a suspended attorney: Departmental Disciplinary Committee for the First Judicial Department, Petitioner, Joel L. Getreu, Respondent.
Disciplinary proceedings instituted by the Departmental Disciplinary Committee for the First Judicial Department. Respondent, Joel L. Getreu, was admitted to the Bar of the State of New York at a Term of the Appellate Division of the Supreme Court for the First Judicial Department on April 17, 1989.



Jorge Dopico, Chief Counsel, Departmental
Disciplinary Committee, New York
(Kathy W. Parrino, of counsel), for petitioner.
Howard Benjamin, for respondent.
PER CURIAMRespondent Joel L. Getreu was admitted to the practice of law in the State of New York by the First Judicial Department on April 17, 1989, under the name Joel Lawrence Getreu. At all times relevant to this proceeding, respondent maintained an office for the practice of law within the First Department.
By order and decision of December 10, 2013, this Court suspended respondent pursuant to the Rules of the Appellate Division, First Department (22 NYCRR), 603.4(e)(1)(ii) and (iii), based on failure to cooperate with the Departmental Disciplinary Committee's (Committee) investigation of three complaints, and uncontested evidence that respondent repeatedly misappropriated or converted client funds, commingled personal and client funds, and failed to keep required IOLA account records (113 AD3d 148 [1st Dept 2013]).
Between July 2011 and March 2013, the Committee received seven complaints against respondent alleging, inter alia, failure to remit client settlements in a timely manner. Two additional complaints of a similar nature were received thereafter, and a hearing before a Referee was scheduled for May 2, 2014.
On or about April 29, 2014, respondent informed the Committee that he intended to resign from the bar. Respondent submitted an affidavit of resignation, sworn to on May 12, 2014. The Departmental Disciplinary Committee now moves, pursuant to 22 NYCRR 603.11, for an order accepting respondent's resignation from the practice of law and striking his name from the roll of attorneys. Respondent's affidavit of resignation complies with section 603.11 in that it states that: (1) his resignation is submitted freely, voluntarily and without coercion or duress; (2) he is fully aware of the implications of submitting his resignation; and (3) he received legal advice and guidance from his attorney. He specifically admits that he did not maintain required bookkeeping records to his IOLA account; he used funds in his IOLA account for his own purposes without client consent, he did not file closing statements with OCA since November 2010, and he received checks on behalf of clients to whom he has still not paid any portion of their funds. Finally, respondent acknowledges that he cannot successfully defend himself against pending charges (22 NYCRR 603.11[a][2]-[3]).
Accordingly, we grant the Committee's motion to accept respondent's resignation from the practice of law, and strike his name from the roll of attorneys, effective nunc pro tunc to May 12, 2014.
All concur.
Order filed.	[August 14, 2014]Tom, J.P., Friedman, Andrias, Freedman, and Clark, JJ.
Respondent's name stricken from the roll of attorneys and counselors-at-law in the State of New York, nunc pro tunc to May 12, 2014. Opinion Per Curiam. All concur.






